                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

Federal National Mortgage Association              CIVIL ACTION NO: 1:22-cv-00361-NT

                Plaintiff                          RESPONSE TO DEFENDANT’S
                                                   MOTION OBJECTING TO USE OF
                                                   REQUEST FOR ADMISSIONS AT TRIAL

                        vs.                        RE: VACANT REAL PROPERTY
                                                   14 Middle Street, Randolph, ME 04346

Melissa J. Schultz-Nielsen a/k/a Melissa J.        Mortgage:
Andrews a/k/a Melissa J. Freeman and               September 20, 2001
Lars E Schultz-Nielsen                             Book 6638, Page 183

              Defendants
HSBC Mortgage Services
Citibank South Dakota, NA
Capital One Bank USA NA
Lars E Schultz-Nielsen
              Party-In-Interest

       NOW COMES Plaintiff, Federal National Mortgage Association, and hereby submits its

response to Defendant's Motion Objection to Use of Requests for Admissions at Trial filed on April

1, 2024, [ECF No. 37]. In support of its Objection Plaintiff states the following:

               I.      Introduction

       Plaintiff asks that the Motion be denied because the Defendant had ample time to respond

or request additional time to respond. Alternatively, although her time to answer is outside the

Court’s Scheduling Order to complete discovery, based on the foregoing, it is respectfully requested

that the Court allow the Defendant 20 days to respond to the Requests for Admission from the

April 10, 2024, date receipt was confirmed, not exclude them entirely.

               II.     Factual Background

   1. The Scheduling Order in this matter was issued July 19, 2023. [ECF No. 20] Id., ¶ 2.

   2. The Deadline to complete discovery was December 6, 2023. Id., ¶ 3.
3. The Plaintiff sent its 1st Request for Admissions to the Defendant on October 3, 2023, via

   regular mail addressed to the Defendant at the property address. Id., ¶ 4.

4. The Undersigned attorney for Plaintiff filed a final pre-trial memo on January 30, 2024,

   which listed Plaintiff ’s Request for Admissions served on the Defendant as a Trial Exhibit.

   [ECF No. 31] Id., ¶ 5.

5. On February 7, 2024, a final pre-trial conference was held via zoom video conference

   wherein counsel for Plaintiff and Defendant Melissa J. Schultz-Nielsen a/k/a Melissa J.

   Andrews a/k/a Melissa J. Freeman appeared. Id., ¶ 6.

6. At that time defendant did not raise any issues or objections to Plaintiffs proposed trial

   exhibits. Id., ¶ 7.

7. At the pretrial conference Plaintiff requested the trial be continued for the April 2024 trial

   list, and the Defendant consented. [ECF No. 33] Id., ¶ 8.

8. On February 8, 2024, the Court put this trial on the Trial list for April 2, 2024. [ECF No. 34]

   Id., ¶ 9.

9. The Court scheduled a second pretrial conference for March 6, 2024. [ECF No. 34] Id., ¶ 10.

10. On February 28, 2024, the undersigned counsel for Plaintiff filed a supplemental pretrial

   memo at [ECF No. 35]. Id., ¶ 11.

11. Again, in its Pre-Trial Memo, Plaintiff listed the Defendant’s Requests for Admissions to

   Defendant as a proposed trial exhibit. Id., ¶ 12.

12. On March 6, 2024, a pretrial conference was held and Attorney Doonan appeared for the

   Plaintiff and Defendant Melissa J. Schultz-Nielsen a/k/a Melissa J. Andrews a/k/a Melissa J.

   Freeman appeared. [ECF No. 36] Id., ¶ 13.

13. At no time did Defendant raise any issue with the proposed exhibits. Id., ¶ 14.

14. On April 1, 2024, Defendant filed Motion Objecting to Use of Requests for Admissions at
        Trial. [ECF No. 37] Id., ¶ 15.

                III.    Argument in Opposition

        Although Defendant had ample opportunity to review the original pre-trial memo filed by

Plaintiff on January 30, 2024, and the supplemental pre-trial memo filed by Plaintiff on February 28,

2024, both of which included the Request for Admissions to Defendant previously served as a

proposed trial exhibit, she never raised concerns or objected to the proposed trial exhibits at the pre-

trial conferences held on February 7, 2024, or at the pre-trial conference held on March 6, 2024.

Out of an abundance of caution, after receiving her motion, the undersigned re-sent Defendant, the

Requests for Admission again on April 2, 2024 via regular and certified mail.

        WHEREFORE and based on the foregoing, the Plaintiff asks that the Motion be denied.

Alternatively, although the time to answer is outside the Court’s scheduled order to complete

discovery, if the Motion is not denied based on the foregoing, it is respectfully requested that the

Court allow the Defendant 20 days to respond to the Requests for Admission from the April 10,

2024, dated receipt was confirmed. (Tracking information for the certified mail indicates that the

defendant picked the mail on April 10, 2024, at post office at Gardiner Maine.)


Dated: April 19, 2024                                     /s/Reneau J. Longoria, Esq.
                                                          Reneau J. Longoria, Esq. Bar No. 005746
                                                          Attorney for Plaintiff
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                                                          (978) 921-2670
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                                  CERTIFICATE OF SERVICE

        I, Reneau J. Longoria, Esq. hereby certify that on this 19th day of April, 2024, I served a copy
of the above document by electronic notification using the CM/ECF system and/or First Class Mail
to the following:

                                                        /s/Reneau J. Longoria, Esq.
                                                        Reneau J. Longoria, Esq. Bar No. 005746
                                                        Attorney for Plaintiff
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